             Case 1:21-mj-00702-MJD Document 2 Filed 07/29/21 Page 1 of 5 PageID #: 2
AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                               for the
                                                   Southern District
                                                 __________ Districtof
                                                                     ofIndiana
                                                                        __________

                  United States of America                        )
                             v.                                   )
                                                                  )      Case No.
                                                                  )                 1:21-mj-00702
                                                                  )
                     Charles Stalanaker,                          )
                                                                  )
                          Defendant(s)


                                                CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                    July 20, 2021              in the county of               Hamilton          in the
     Southern          District of            Indiana         , the defendant(s) violated:

            Code Section                                                    Offense Description
18 U.S.C. § 922(g)(1)                          Possession of a Firearm by a Convicted Felon




         This criminal complaint is based on these facts:
See Attached Affidavit




         ✔ Continued on the attached sheet.
         u

                                                                                              /s/ Todd Bevington
                                                                                              Complainant’s signature

                                                                                            SA Todd Bevington, ATF
                                                                                               Printed name and title

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       WHOHSKRQH                  UHOLDEOHHOHFWURQLFPHDQV

Date:         7/29/2021
                                                                                                 Judge’s signature

City and state:                      Indianapolis, Indiana                        Paul R. Cherry, U.S. Magistrate Judge
                                                                                               Printed name and title
   Case 1:21-mj-00702-MJD Document 2 Filed 07/29/21 Page 2 of 5 PageID #: 3




    AFFIDAVIT IN SUPPORT OF APPLICATION FOR CRIMINAL COMPLAINT


            Your Affiant, Todd J. Bevington, being duly sworn, does depose and state as follows:

                            Affiant Background and Purpose of Affidavit

       1.        I, Todd J. Bevington, am a Special Agent (SA) with the Bureau of Alcohol,

Tobacco, Firearms and Explosives (“ATF”) and have been so employed since December of 2013.

Prior to joining the ATF, I was a police officer and detective with the Richmond, Virginia, Police

Department for over thirteen years. I graduated from the Federal Law Enforcement Training

Center and am currently assigned to the ATF-Indianapolis Field Office. I have participated in

numerous state and federal firearms and narcotics investigations.

       2.        This affidavit is submitted in support of a criminal complaint charging Charles

STALANAKER D.O.B. XX/XX/1964 with Possession of a Firearm by a Convicted Felon in

violation of Title 18, United States Code, Section 922(g)(1). The information contained in the

below numbered paragraphs is either personally known to your Affiant or told to your Affiant by

other law enforcement officers.

       3.        This Affidavit does not set forth every fact your Affiant has learned during this

investigation, but rather is provided solely for establishing probable cause in support of the

application for a Complaint in this matter.

                      Facts and Circumstances Supporting Probable Cause

       4.        On July 19, 2021, ATF agents obtained a federal search warrant for the

residence of 17623 Washington Street, Westfield, Indiana; located within the Southern

District of Indiana. Charles STALANAKER was the target of the search warrant.
   Case 1:21-mj-00702-MJD Document 2 Filed 07/29/21 Page 3 of 5 PageID #: 4




       5.      On July 20, 2021, ATF Special Agent (SA) Todd Bevington was conducting

surveillance on the Washington Street residence. At approximately 8:30 AM, SA Bevington

observed STALANAKER leave the residence in a vehicle.              SA Bevington followed

STALANAKER to a nearby gas station where SA Bevington observed a female, Krista Fox,

exit the vehicle and enter the gas station. SA Bevington was aware that Fox was wanted on

numerous outstanding felony arrest warrants from Hamilton County, Indiana.

       6.      SA Bevington maintained surveillance on STALANKER and Fox and

followed their vehicle until Westfield Police Department (WPD) officers initiated a traffic

stop on the vehicle. WPD officers placed Fox under arrest for her outstanding warrants and

STALANAKER was detained at the scene of the traffic stop.

       7.      SA Bevington explained to STALANAKER that he was not under arrest but

that he was being detained and was not free to leave. This was based on SA Bevington’s

knowledge that he STALANAKER was a felon who possessed firearms. SA Bevington

advised STALANAKER of his Miranda warnings to which STALANKER indicated he

understood and STALANAKER agreed to speak with SA Bevington. SA Bevington

explained to STALANAKER that a search warrant had been obtained for his residence to

search for illegal firearms. STALANKER told SA Bevington that there were five to six

firearms in his residence and stated he was a convicted felon.

       8.      Investigators transported STALANAKER back to his residence and executed

the search warrant at approximately 10:00 a.m. STALANAKER opened the door to the

residence utilizing a key from his key chain and no other individuals were located inside the

residence.
   Case 1:21-mj-00702-MJD Document 2 Filed 07/29/21 Page 4 of 5 PageID #: 5




       9.      Once inside the residence, STALANKER directed investigators to numerous

‘long’ guns that were sitting in a crib inside his bedroom. STALANAKER stated his DNA

and fingerprints “should” be on the firearms as he had handled the firearms approximately

one month prior. STALANAKER told investigators that FOX had a pistol inside the

residence but STALANKER was unaware of the exact location of the firearm.

       10.     STALANAKER then utilized the combination to unlock a large gun safe that

was sitting next to the bed in his bedroom. Investigators located several more firearms and

assorted ammunition inside the safe. STALANKER stated most of the guns previously

belonged to his deceased father but stated he had purchased one of the shotguns inside the

safe from an individual a couple of years ago and had obtained another gun in a trade with

another individual.    STALANAKER stated he had handled the firearms in the safe

approximately a month and a half ago and stated his DNA and fingerprints would be on the

firearms.

       11.     STALANKER then utilized a key from his keychain to unlock and padlocked

storage container on the floor next to the gun safe in his bedroom. Inside the storage

container, investigators located three pistols and assorted ammunition and firearms

accessories. STALANAKER told investigators that he had previously shot several of his

firearms on his property for “target practice.”

       12.     Agents recovered a total of twenty-two (22) firearms from STALANAKER’s

bedroom, to include a Mag Tactical Systems, model MG-G4, .223 rifle, serial #MTS04820.

Two of the firearms recovered had been previously reported as stolen to law enforcement.

A review of STALANAKER’s computerized criminal history (CCH) showed that

STALANAKER had knowingly sustained felony convictions in Indiana for Possession of
   Case 1:21-mj-00702-MJD Document 2 Filed 07/29/21 Page 5 of 5 PageID #: 6




Methamphetamine under cause #29D04-2008-F6-005025 and Theft under cause #29D04-

1907-F6-005373. Further, STALANAKER was on court ordered probation in Hamilton

County, Indiana at the time of this offense.

       13.     As to the firearm referenced in this Affidavit, an interstate nexus expert with ATF

reviewed the firearm’s characteristics and determined that the firearm was not manufactured in

the state of Indiana. By virtue of its presence in the State of Indiana, therefore, the firearm had to

have been transported or shipped in interstate or foreign commerce.

       14.     All of the above incidents occurred within the Southern District of Indiana.

                                                Conclusion

       15.      Based on the facts set forth in this affidavit, your Affiant submits that probable

cause exists that on July 20, 2021, in the Southern District of Indiana, Charles STALANAKER

did commit the crime of Possession of a Firearm by a Convicted Felon, in violation of Title 18,

U.S.C., § 922(g)(1) as described above. Accordingly, your Affiant requests this Court issue a

Criminal Complaint charging STALANAKER with this crime, along with a warrant for his arrest.



                                            BBBV7RGG%HYLQJWRQ
                                            7RGG Bevington, Special Agent
                                            Bureau of Alcohol, Tobacco, Firearms, and Explosives




 Attested to by the applicant in accordance with the requirements of Fed.R.Crim.P. 4.1 by
telephone.


        Date: 7/29/2021
